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               $33(1',;$
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^ƵďĚŝǀŝƐŝŽŶ                   ^ƚĂƚĞ   ^ŝŐŶĞĚtŝƚŚWĞƌŵŝƐƐŝŽŶ                       EĂŵĞŽĨƚ>ĞĂƐƚKŶĞ>Ăǁ&ŝƌŵŽĨZĞĐŽƌĚ            :ƵƌŝƐĚŝĐƚŝŽŶ   ŽĐŬĞƚEƵŵďĞƌ
ůĞǆĂŶĚƌŝĂĐŝƚǇ                /E     ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,           ϭ͗ϭϴͲŽƉͲϰϱϭϱϭͲW

>>EKhEdz                   /E     ͬƐͬ^ŝŵŵŽŶƐ,ĂŶůǇŽŶƌŽǇͬƌƵĞŐĞƌŝĐŬŝŶƐŽŶ   ^ŝŵŵŽŶƐ,ĂŶůǇŽŶƌŽǇͬƌƵĞŐĞƌŝĐŬŝŶƐŽŶ                            ϭ͗ϭϴͲŽƉͲϰϱϭϮϭͲW

ƵƐƚŝŶĐŝƚǇ                    /E     ͬƐͬƵĚĞŶŚĞĨĞƌ>Ăǁ&ŝƌŵ                      ƵĚĞŶŚĞĨĞƌ>Ăǁ&ŝƌŵ                                EK,           ϭ͗ϭϵͲŽƉͲϰϱϳϯϵͲW

                                      ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
ĞĞĐŚ'ƌŽǀĞĐŝƚǇ               /E                                                                                                     EK,           ϭ͗ϭϴͲŽƉͲϰϲϭϬϯͲW
                                      ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘

EdKEKhEdz                  /E     ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,           ϭ͗ϭϴͲŽƉͲϰϲϮϬϭͲW

                                      ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
><&KZKhEdz               /E                                                                                                     EK,           ϭ͗ϭϴͲŽƉͲϰϲϯϯϲͲW
                                      ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘

ůŽŽŵŝŶŐƚŽŶĐŝƚǇ               /E     ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,           ϭ͗ϭϴͲŽƉͲϰϱϮϯϱͲW

                                      ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
ƌŽǁŶƐƚŽǁŶƚŽǁŶ                /E                                                                                                     EK,           ϭ͗ϭϴͲŽƉͲϰϱϲϲϲͲW
                                      ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘
                                      ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
ŚĂŶĚůĞƌƚŽǁŶ                  /E                                                                                                     EK,           ϭ͗ϭϴͲŽƉͲϰϱϰϰϬͲW
                                      ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘

ŽŶŶĞƌƐǀŝůůĞĐŝƚǇ              /E     ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,           ϭ͗ϭϴͲŽƉͲϰϱϭϱϵͲW

                                      ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
ĂŶǀŝůůĞƚŽǁŶ                  /E                                                                                                     EK,           ϭ͗ϭϵͲŽƉͲϰϱϮϭϱͲW
                                      ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘

>tZKhEdz                /E     ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,           ϭ͗ϭϴͲŽƉͲϰϱϵϲϯͲW

ůǁŽŽĚŝƚǇ                    /E     ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,           ϭ͗ϭϴͲŽƉͲϰϱϭϱϭͲW

                                      ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
ǀĂŶƐǀŝůůĞĐŝƚǇ                /E                                                                                                     EK,           ϭ͗ϭϴͲŽƉͲϰϱϱϵϭͲW
                                      ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘

&ĂǇĞƚƚĞŽƵŶƚǇ                 /E     ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,           ϭ͗ϭϴͲŽƉͲϰϱϭϱϵͲW

                                      ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
&ŝƐŚĞƌƐĐŝƚǇ                   /E                                                                                                     EK,           ϭ͗ϭϴͲŽƉͲϰϱϴϰϱͲW
                                      ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘

&ƌĂŶŬůŝŶĐŝƚǇ͕                /E     ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,           ϭ͗ϭϴͲŽƉͲϰϲϭϴϮͲW

&ZE<>/EKhEdz                /E     ͬƐͬ^ŝŵŵŽŶƐ,ĂŶůǇŽŶƌŽǇͬƌƵĞŐĞƌŝĐŬŝŶƐŽŶ   ^ŝŵŵŽŶƐ,ĂŶůǇŽŶƌŽǇͬƌƵĞŐĞƌŝĐŬŝŶƐŽŶ             EK,           ϭ͗ϭϴͲŽƉͲϰϱϴϮϳͲW

'ĂƌǇĐŝƚǇ                      /E     ͬƐͬEĂƉŽůŝ^ŚŬŽůŶŝŬ͕W>>                    EĂƉŽůŝ^ŚŬŽůŶŝŬ͕W>>                              EK,           ϭ͗ϭϴͲŽƉͲϰϱϵϮϵͲW

                                      ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
'ƌĞĞŶǁŽŽĚĐŝƚǇ                 /E                                                                                                     EK,           ϭ͗ϭϴͲŽƉͲϰϱϭϬϵͲW
                                      ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘

,ĂŵŵŽŶĚĐŝƚǇ                   /E     ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,           ϭ͗ϭϳͲŽƉͲϰϱϬϴϮͲW

                                      ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
,ĂƌƚĨŽƌĚŝƚǇĐŝƚǇ             /E                                                                                                     EK,           ϭ͗ϭϴͲŽƉͲϰϱϴϱϰͲW
                                      ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘
                                      ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
,KtZKhEdz                  /E                                                                                                     EK,           ϭ͗ϭϴͲŽƉͲϰϱϭϳϮͲW
                                      ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘
                                      ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
,ƵŶƚŝŶŐƚŽŶĐŝƚǇ                /E                                                                                                     EK,           ϭ͗ϭϴͲŽƉͲϰϲϯϱϳͲW
                                      ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘

/ŶĚŝĂŶĂƉŽůŝƐĐŝƚǇ              /E     ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,           ϭ͗ϭϳͲŽƉͲϰϱϬϵϭͲW

                                      ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
:<^KEKhEdz                 /E                                                                                                     EK,           ϭ͗ϭϴͲŽƉͲϰϱϰϯϵͲW
                                      ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘
                                      ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
:ĂƐƉĞƌĐŝƚǇ                    /E                                                                                                     EK,           ϭ͗ϭϴͲŽƉͲϰϲϬϮϳͲW
                                      ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘

:zKhEdz                     /E     ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,           ϭ͗ϭϴͲŽƉͲϰϲϭϰϬͲW

                                      ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
:ĞĨĨĞƌƐŽŶǀŝůůĞĐŝƚǇ            /E                                                                                                     EK,           ϭ͗ϭϴͲŽƉͲϰϱϵϲϭͲW
                                      ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘

:EE/E'^KhEdz                /E     ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,           ϭ͗ϭϴͲŽƉͲϰϱϭϯϭͲW

                                      ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
<ŽŬŽŵŽĐŝƚǇ                    /E                                                                                                     EK,           ϭ͗ϭϴͲŽƉͲϰϱϭϮϳͲW
                                      ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘

>ĂĨĂǇĞƚƚĞĐŝƚǇ                 /E     ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,           ϭ͗ϭϳͲŽƉͲϰϱϬϴϭͲW

><KhEdz                    /E     ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,           ϭ͗ϭϴͲŽƉͲϰϱϭϱϲͲW
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>WKZdKhEdz               /E   ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,   ϭ͗ϭϴͲŽƉͲϰϱϮϴϬͲW

                                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
>ĂǁƌĞŶĐĞĐŝƚǇ                /E                                                                                                   EK,   ϭ͗ϭϴͲŽƉͲϰϱϴϬϱͲW
                                  ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘

>tZEKhEdz              /E   ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,   ϭ͗ϭϴͲŽƉͲϰϲϭϴϴͲW

>ŽŐĂŶƐƉŽƌƚĐŝƚǇ              /E   ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,   ϭ͗ϭϴͲŽƉͲϰϱϲϵϮͲW

DĂĚŝƐŽŶĐŝƚǇ                 /E   ͬƐͬƵĚĞŶŚĞĨĞƌ                               ƵĚĞŶŚĞĨĞƌ                                         EK,   ϭ͗ϭϵͲŽƉͲϰϱϳϰϬͲW

DĂĚŝƐŽŶŽƵŶƚǇ               /E   ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,   ϭ͗ϭϴͲŽƉͲϰϱϭϱϭͲW

DZ^,>>KhEdz              /E   ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,   ϭ͗ϭϴͲŽƉͲϰϱϭϱϳͲW

                                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
DĂƌƚŝŶƐǀŝůůĞĐŝƚǇ            /E                                                                                                   EK,   ϭ͗ϭϴͲŽƉͲϰϱϯϰϲͲW
                                  ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘

DŽŶƌŽĞŽƵŶƚǇ                /E   ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,   ϭ͗ϭϴͲŽƉͲϰϱϮϯϱͲW

                                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
DŽŶƚƉĞůŝĞƌĐŝƚǇ              /E                                                                                                   EK,   ϭ͗ϭϴͲŽƉͲϰϱϴϬϲͲW
                                  ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘
                                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
DŽŽƌĞƐǀŝůůĞƚŽǁŶ             /E                                                                                                   EK,   ϭ͗ϭϵͲŽƉͲϰϱϬϭϲͲW
                                  ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘

DKZ'EKhEdz                /E   ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,   ϭ͗ϭϴͲŽƉͲϰϱϴϮϴͲW

                                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
EĞǁůďĂŶǇĐŝƚǇ              /E                                                                                                   EK,   ϭ͗ϭϴͲŽƉͲϰϲϯϯϯͲW
                                  ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘

EĞǁĂƐƚůĞĐŝƚǇ              /E   ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,   ϭ͗ϭϴͲŽƉͲϰϱϬϭϲͲW

                                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
EŽďůĞƐǀŝůůĞĐŝƚǇ             /E                                                                                                   EK,   ϭ͗ϭϴͲŽƉͲϰϱϭϮϰͲW
                                  ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘

KZE'KhEdz                /E   ͬƐͬĂŚĞŽŽŬĂŶƚůĞǇΘEĞĨǌŐĞƌW>          ĂŚĞŽŽŬĂŶƚůĞǇΘEĞĨǌŐĞƌW>                    EK,   ϭ͗ϭϵͲŽƉͲϰϱϯϱϲͲW

WĞŶĚůĞƚŽŶƚŽǁŶ               /E   ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,   ϭ͗ϭϴͲŽƉͲϰϲϭϴϮͲW

                                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
WĞƌƵĐŝƚǇ                    /E                                                                                                   EK,   ϭ͗ϭϴͲŽƉͲϰϱϳϵϰͲW
                                  ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘
                                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
WůĂŝŶĨŝĞůĚƚŽǁŶ              /E                                                                                                   EK,   ϭ͗ϭϵͲŽƉͲϰϱϬϭϳͲW
                                  ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘

WKZdZKhEdz                /E   ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,   ϭ͗ϭϵͲŽƉͲϰϱϬϳϰͲW

WŽƌƚůĂŶĚĐŝƚǇ                /E   ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,   ϭ͗ϭϴͲŽƉͲϰϲϭϰϬͲW

Wh>^</KhEdz               /E   ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,   ϭ͗ϭϴͲŽƉͲϰϲϭϭϬͲW

ZŝĐŚŵŽŶĚĐŝƚǇ                /E   ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,   ϭ͗ϭϴͲŽƉͲϰϲϭϴϮͲW

Z/W>zKhEdz                /E   ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,   ϭ͗ϭϴͲŽƉͲϰϲϭϱϱͲW

^KddKhEdz                 /E   ͬƐͬƵĚĞŶŚĞĨĞƌ>Ăǁ&ŝƌŵ                      ƵĚĞŶŚĞĨĞƌ>Ăǁ&ŝƌŵ                                EK,   ϭ͗ϭϳͲŽƉͲϰϱϬϵϰͲW

                                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
^ĞǇŵŽƵƌĐŝƚǇ                 /E                                                                                                   EK,   ϭ͗ϭϴͲŽƉͲϰϱϲϳϯͲW
                                  ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘
                                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
^ŚĞůďǇǀŝůůĞĐŝƚǇ             /E                                                                                                   EK,   ϭ͗ϭϴͲŽƉͲϰϱϵϲϬͲW
                                  ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘
                                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
^ŚĞƌŝĚĂŶƚŽǁŶ                /E                                                                                                   EK,   ϭ͗ϭϴͲŽƉͲϰϱϬϱϱͲW
                                  ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘

^ŽƵƚŚĞŶĚĐŝƚǇ              /E   ͬƐͬd,<>Ăǁ͕>>W                             d,<>Ăǁ͕>>W                                       EK,   ϭ͗ϭϴͲŽƉͲϰϱϰϬϬͲW

^d:K^W,KhEdz             /E   ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,   ϭ͗ϭϴͲŽƉͲϰϱϱϬϬͲW

                                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
^dZ<KhEdz                /E                                                                                                   EK,   ϭ͗ϭϴͲŽƉͲϰϲϯϱϴͲW
                                  ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘
                                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
d/WWEKKhEdz            /E                                                                                                   EK,   ϭ͗ϭϴͲŽƉͲϰϱϳϵϲͲW
                                  ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘
                                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
hƉůĂŶĚƚŽǁŶ                  /E                                                                                                   EK,   ϭ͗ϭϴͲŽƉͲϰϲϯϱϲͲW
                                  ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘
                  Case: 1:17-md-02804-DAP Doc #: 4468-1 Filed: 05/19/22 4 of 4. PageID #: 582388


sEZhZ',KhEdz         /E   ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,   ϭ͗ϭϴͲŽƉͲϰϱϰϵϴͲW

                                ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
s/'KKhEdz                /E                                                                                                   EK,   ϭ͗ϭϴͲŽƉͲϰϱϭϮϴͲW
                                ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘

tĞƐƚ>ĂĨĂǇĞƚƚĞĐŝƚǇ        /E   ͬƐͬŽŚĞŶΘDĂůĂĚ͕>>W                       ŽŚĞŶΘDĂůĂĚ͕>>W                                 EK,   ϭ͗ϭϴͲŽƉͲϰϱϯϬϬͲW

                                ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
tĞƐƚĨŝĞůĚĐŝƚǇ             /E                                                                                                   EK,   ϭ͗ϭϴͲŽƉͲϰϲϬϱϲͲW
                                ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘
                                ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
ŝŽŶƐǀŝůůĞƚŽǁŶ            /E                                                                                                   EK,   ϭ͗ϭϴͲŽƉͲϰϱϴϰϲͲW
                                ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘
